       Case 2:19-cv-02802-RSWL-SS Document 11 Filed 04/25/19 Page 1 of 2 Page ID #:38
AO 121 (&'(" #6/$%)
TO:

                   18:<AB8@ >9 ,>?D@<:;BA                                                              REPORT ON THE
                    3$2$ ,>?D@<:;B 099<68                                                      FILING OR DETERMINATION OF AN
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 2:19cv02802 RSWL-SS                          4/15/2019                   Los Angeles, CA 90012
PLAINTIFF                                                                             DEFENDANT

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            G Order            G Judgment                                     G Yes        G No

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COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                       DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

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